Case 2:04-cr-20216-.]Pl\/| Document 46 Filed 06/16/05 Page 1 of 7 PagelD 75

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UN|TED STATES OF AN|ER|CA
sosEP.t‘ a pa 'rsouo
ctsesc. u.s. past c“r.
-v- 2:04CR20216-01-M| W.D. <;».= Tr-J, nisi-lineas

KELL| LORRA|NE POLLARD

Anthony He|m, Retained
Defense Attorney

5705 Stage Road, #110
Bartlett, TN 38134

 

JUDGMENT |N A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on l\/|arch 17, 2005.

Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s): _

Date Count
Title & Section PE\J_\M Offense Numberjsj
C_QDM
18 U.S.C. § 371 Conspiracy to Defraud the United 11/30/2001 1
States
18 U.S.C. § 666 and 2 Theft from Programs Receiving 11/30/2001 2

Federal Funds

`l'he defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Bir'th: 1211 1/1967 June 16, 2005
Deft’s U.S. l\/larshal No.: 15529-076

Defendant's l\/lailing Address:

2520 worth timberland Lane, #1 ( j
Memphis, TN 38123 /G /
t l s

JON PH|PPS McCAl_l_A
UN|T STATES D|STR|CT JUDGE

June /(( ,2005

ms oosterhout entered on the docket h:t(et irlzofr);ipl:anc.
with Huie 3.‘3:1nd,ior32(l:)) FHt,rP on j:f 2

 

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|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 27 Months (or 2 years and 3 months) as to Count
1; 27 Months (or 2 years and 3 months) as to Count 2. Counts1 and 2 are to be served
concurrently with each other for a total term of incarceration of 27 Months (or 2 years
and 3 months).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNlTED STATES MARSHAL
By:

 

Deputy U.S. lVlarshal

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1; 3 years as to Count 2. Counts 1 and 2 are to be
supervised concurrently with each other for a total term of supervised release of 3
years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterl as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted bythis court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic brother controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and sha|i not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and

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Case No: 2:O4CR20216-01-Nli Defendant Name: Ke||i Lorraine POLLARD Page 4 of6
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:
1. The defendant shall cooperate with DNA testing as directed by the Probation Office.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall provide third-party risk notification

4. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchases without the pn'or approval of the
Probation Office.

5. The defendant shall make full financial disclosure

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$200.00 *§80,836.00

The Speciai Assessment shall be due immediatelyl

F|NE
No fine imposed

REST|TUT|ON

Restitution in the amount of *§80,836.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Total Amount of Order
Name of pal[ee Amount Restitution Ordered or
of Loss Percentage
ef&imem
Lei\/|oyne-Owen College $86,836.00 $86,836.00
Attn: Fisca| Services
807 Waiker Avenue

Memphis, TN 38126
RE: Restitution (Keili Poilard)

*Restitution is to be paid joint and several with Verdel| Po||ard. 2:04CR20213: Niarlon
Thomas. 2:04CR20488; Marlon Briqgs. 2:04CR20210; and Aaron Boone. 2:04CR20217.

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAVMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Speciai instnictions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financiai Responsibiiity Program, are made to the clerk of the
court, unless othen/vise directed by the court, the probation ofhcer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNlTED sTATE DRISTIC COUR - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-202]6 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Anthony Helm

LAW OFFICES OF ANTHONY HELM
5705 Stage Road

Ste. 1 10

Bartlett7 TN 3 8134

Honorable J on McCalla
US DISTRICT COURT

